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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          4:08CR3148-7
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )          ORDER
JEFF L. MOATS,                              )
                                            )
                    Defendant.              )


      On the oral motion of defense counsel, and without objection by the government,

       IT IS ORDERED that Defendant Moats’ evidentiary hearing and sentencing are
continued to March 19, 2010, at 12:30 p.m., before the undersigned United States district
judge, in Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

      Dated February 16, 2010.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
